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                                IN THE UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF ARKANSAS
                                          WESTERN DIVISION

CYNTHIA D'ABADIE,                                                                                             PLAINTIFF

v.                                         CASE NO. 4:18CV00356 - JM

PULASKI COUNTY SPECIAL SCHOOL DISTRICT,                                                                    DEFENDANT

                                            SECOND AMENDED
                                        FINAL SCHEDULING ORDER

 Pursuant to Rule 16(e) of the Federal Rules of Civil Procedure, IT IS HEREBY ORDERED:

 1.     TRIAL DATE - This case is scheduled for JURY TRIAL before Judge James M. Moody Jr.
        commencing at 9:15 a.m. sometime during the week of August 17, 2020, in Courtroom #4A, Richard
        Sheppard Arnold United States Courthouse, 500 West Capitol, Little Rock, Arkansas.

 2.     MOTION DEADLINE - All motions deadlines have passed, with the exception of motions in limine.
        Motions in limine shall be filed on or before August 6, 2020, and responses thereto shall be filed seven (7)
        days thereafter. Any motions submitted after this deadline may be denied solely on the basis of having been
        untimely filed. Daubert related motions must be filed by the motion deadline and shall not be filed as
        motions in limine.

 3.     PRETRIAL DISCLOSURE SHEET [FED.R.CIV.P. 26(a)(3)] - Please file the information requested in
        the pretrial disclosure sheet with the Clerk with copies to opposing counsel no later than July 20, 2020.
        The pretrial disclosure sheets are to be filed simultaneously by the parties according to the outline contained
        in Local Rule 26.2. The Court’s requirement that witnesses and exhibits be listed on the pretrial disclosure
        sheet does not relieve a party of the obligation to provide the names of witnesses and exhibits in a timely
        manner pursuant to outstanding interrogatories or admissions.

 4.     EVIDENTIARY DEPOSITIONS - The proffering party must designate the pertinent portions of an
        evidentiary deposition by July 20, 2020. Counter-designations must be made by July 28, 2020.
        Designations and Counter- designations are not to be filed with the Clerk's office, instead the
        documents should be mailed to Chambers or by e-mail to jmchambers@ared.uscourts.gov.
        Objections to any deposition or video tapes which will be used at trial must be made by written motion
        indicating the specific objection and its legal basis by July 31, 2020, with the response due August 3,
        2020. Depositions to be read at trial shall be marked as exhibits.

 5.     TRIAL BRIEF - The parties shall simultaneously submit to the Court on or before August 7, 2020 trial
        briefs summarizing the anticipated factual and legal issues in the case. In the briefs, the parties shall
        suggest to the Court any evidentiary issues that are expected to arise during trial and brief the law concerning
        the proper resolution to those issues. Trial briefs are not to be filed with the Clerk's office, instead the
        documents should be mailed to Chambers or by e-mail to jmchambers@ared.uscourts.gov.

 6.     JURY INSTRUCTIONS - The parties shall meet and confer regarding the proposed instructions in an
        attempt to narrow areas of disagreement and shall submit an AGREED set of instructions on specific
        issues in the case to the Court on or before August 7, 2020. Standard instructions from AMI, Eighth
        Circuit or Federal Jury Practice and Instructions (5th Edition), as applicable, should be used whenever
        possible and should be noted at the end of each instruction. NOTE: DO NOT include the standard
        opening and closing instructions. A party requesting an instruction which cannot be agreed upon shall
        submit that instruction to the Court and to opposing counsel setting out the disagreement by the same
        date. Instructions shall be submitted in electronic format to jmchambers@ared.uscourts.gov.
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7.     STIPULATIONS - The Court directs that all parties stipulate in writing the facts not in controversy seven
       (7) days prior to the trial date.

8.     INTRODUCTION OF EXHIBITS - So that the introduction of exhibits may be handled expeditiously,
       the Court directs that all exhibits are to be listed in numerical sequence and completed before the trial
       date. Exhibits are to be made available to all parties and reviewed by counsel prior to the trial date. The
       lists shall be submitted to the Courtroom Deputy prior to the trial commencing with notations made on the
       Court’s copy as to which exhibits there is an objection. The Court will receive all stipulated exhibits at the
       beginning of trial.

         Please communicate with Kacie Glenn, Courtroom Deputy, at 501.604.5150 or
kacie_glenn@ared.uscourts.gov to ascertain your position on the calendar as the trial date approaches. In the
event of settlement, please advise Ms. Glenn immediately. The case will not be removed from the trial docket
until an order of dismissal has been entered.

DATED: Monday, November 25, 2019

                                                AT THE DIRECTION OF THE COURT
                                                James W. McCormack, Clerk

                                                By: Kacie Glenn
                                                        Deputy Clerk
